                            Case 24-15150-VFP                  Doc 212      Filed 12/11/24 Entered 12/11/24 16:41:11                            Desc Main
                                                                           Document      Page 1 of 1

703 BAKERY CORP                                                                                                              12/11/2024 15:19
24-15150-VFP
Five Year Projected Cash Flow

                                Dec-24         2025            2026            2027             2028             2029             Total

Total Sales                 $ 800,000      $ 11,750,000    $ 11,985,000    $ 12,104,850    $   12,225,899   $   12,348,157   $    61,213,906

COGS @ 21.5%                    142,000        2,476,250       2,518,775       2,602,543        2,628,568        2,654,854        13,022,990

Payroll & Taxes                 432,407        5,320,887       5,320,887       5,446,134        5,499,395        5,553,189        27,572,900
Rent                             96,000        1,224,000       1,248,480       1,273,450        1,298,919        1,324,897         6,465,745
Utilities                        41,000          495,500         495,500         495,500          495,500          495,500         2,518,500
Sales Tax                        48,000          705,000         719,100         726,291          733,554          740,889         3,672,834
Credit Card Fees                 24,000          352,500         359,550         363,146          366,777          370,445         1,836,417
Insurance                        13,000          156,000         156,000         156,000          156,000          156,000           793,000
Software Expenses                12,500          150,000         150,000         150,000          150,000          150,000           762,500
Advertising & marketing          10,000          100,000         100,000         100,000          100,000          100,000           510,000
Repairs & Maintenance             5,000           60,000          60,000          60,000           60,000           60,000           305,000
Vehicle gas & fuel                4,000           50,400          50,400          50,400           50,400           50,400           256,000
Supplies                          5,000           63,000          63,000          63,000           63,000           63,000           320,000
Rabinical Supervision             7,500           90,000          90,000          90,000           90,000           90,000           457,500
Travel & Delivery                 3,800           47,880          47,880          47,880           47,880           47,880           243,200
Truck Lease                       3,778           45,336          45,336          45,336           45,336           45,336           230,458
Equipment Leases                  7,500          108,000         108,000         108,000          108,000          108,000           547,500
Office Expenses                   4,500           54,000          54,000          54,000           54,000           54,000           274,500
Total Expenses                  717,985        9,022,503       9,068,133       9,229,136        9,318,761        9,409,536        46,766,054
Cash Flow From Operations       (59,985)         251,247         398,092         273,171          278,570          283,767         1,424,862

Money from Investor              75,000         250,000                                                                              325,000
Less Plan Payments:
SBA                                 741           7,414           7,414           7,414            7,414            7,414             37,813
Priority Sales Taxes                             28,800          28,800          28,800           28,800           28,800            144,000
Admin Claims                                    220,000         155,000                                                              375,000
DM Brands                                       156,750                                                                              156,750
Secured Claims                    6,734          84,440          34,963          34,963           34,963           34,963            231,028
DIP Loan Repayment                                              110,000         125,000          119,500                             354,500
Unsecured Claims                                 60,000          60,000          60,000           60,000          180,000            420,000
Beginning Cash                   50,000          57,539           1,382           3,296           20,289           48,181             50,000
Ending Cash                 $    57,539    $      1,382    $      3,296    $     20,289    $      48,181    $      80,770    $        80,770
